          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 1 of 11




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

IN RE:                            |
                                  |
NEIGHBORS LEGACY HOLDINGS, INC., |                               CASE NO. 18-33836-H1-11
                                  |                              Chapter 11
      Debtor                      |
                                  |
MARK SHAPIRO, TRUSTEE             |
OF THE UNSECURED CREDITOR TRUST |
OF NEIGHBORS LEGACY HOLDINGS,     |
INC. AND ITS DEBTOR AFFILIATES,   |
      Plaintiff                   |
                                  |
VS.                               |                              ADV. NO. 20-03016
                                  |
TOM VO, ET AL.,                   |                              JURY DEMANDED
      Defendants                  |


                                   ORIGINAL ANSWER OF DEFENDANT
                                      ELANIE UCBAMICHAEL MD


TO THE HONORABLE MARVIN ISGUR UNITED STATES BANKRUPTCY JUDGE:

          Comes now Elanie UcBamichael MD, one of the Defendants in the above numbered and

titled Adversary Proceeding, and for answer to the Plaintiff's First Amended Complaint (doc 4,

the "Complaint") filed by Mark Shapiro, Trustee of the Unsecured Creditor Trust of Neighbors

Legacy Holdings, Inc. and its Debtor Affiliates (the "Trustee"), Elanie UcBamichael MD

respectfully represents:

                                       Response to Jurisdiction and Venue

          1. Elanie UcBamichael MD admits paragraphs 1 through 6 of the Complaint and agrees

that this Court has jurisdiction and venue to consider the Complaint as to Elanie UcBamichael

MD. Elanie UcBamichael MD consents to the entry of final orders or judgment by this


Original Answer of Defendant Elanie UcBamichael MD – Page 1
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 2 of 11




honorable Court pursuant to BLR 7008-1 and 7012-1. Elanie UcBamichael MD denies that the

Court has venue to consider the Complaint as to Defendants UcBamichael Holdings, Ltd and

UcBamichael Holdings Management, LLC. Elanie UcBamichael MD does not know whether

the Court has jurisdiction or venue to consider the Complaint as to any other Defendants.

                                                   Response to Parties

          2. Elanie UcBamichael MD admits the allegation of paragraph 7 of the Complaint that

the Plaintiff, Mark Shapiro, is the Trustee of the Unsecured Creditor Trust (the "Trust") of

Neighbors Legacy Holdings, Inc., and its affiliates (the "Debtors").

          3. Elanie UcBamichael MD denies the allegation of paragraph 58 of the Complaint that

Elanie UcBamichael MD resides at 3195 Dowlen Rd, Suite 101, Beaumont, Texas 77706. That is

a UPS mail box, not a residence. Elanie UcBamichael MD resides at 7745 Village Dr.,

Beaumont, Texas 77713.

          4. Elanie UcBamichael MD denies the allegations of paragraphs 83 and 84 of the

Complaint in part. Elanie UcBamichael MD admits that UcBamichal Holdings, Ltd is a Texas

limited partnership, and that UcBamichael Holdings Management, LLC, its general partner, is a

Texas limited liability, but denies that the addresses stated in the Complaint are correct.

UcBamichal Holdings, Ltd and UcBamichal Holdings Management, LLC reside at 7745 Village

Dr., Beaumont, Texas 77713.

          5. Elanie UcBamichael MD does not have knowledge about and is not able to either

admit or deny the allegations of paragraphs 8 through 57, 59 through 82, 85 and 86 of the

Complaint. Elanie UcBamichael MD does not know the correct names and identity of the other

defendants named in the Complaint.




Original Answer of Defendant Elanie UcBamichael MD – Page 2
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 3 of 11




                                           Response to Background Facts

          6. Elanie UcBamichael MD does not have knowledge about and is not able to either

admit or deny the allegations of paragraphs 87 through 91 of the Complaint concerning the

bankruptcy cases of the Neighbors Debtor Entities, the Chapter 11 Plan, or the creation of the

Unsecured Creditor Trust.

                    Neighbors Emergency Centers Alleged Transfers to Defendant

          7. Elanie UcBamichael MD denies the allegations of paragraphs 92 through 96 of the

Complaint and demands strict proof thereof.

          8. Elanie UcBamichael MD denies that Elanie UcBamichael MD ever made any loans to

the Neighbor Debtor Entities (as that term is defined in the Complaint).

          9. Elanie UcBamichael MD denies that Elanie UcBamichael MD was a creditor of any

of the Neighbor Debtor Entities.

          10. Elanie UcBamichael MD denies that it received any payment alleged in the

Amended Complaint and Exhibit A to the Amended Complaint to have been made to Elanie

UcBamichael MD.

          11. Elanie UcBamichael MD did not receive any payments or transfers from any of the

debtor entities except for only NEC Port Arthur Emergency Center, LP. Elanie UcBamichael

MD denies that NEC Port Arthur Emergency Center, LP was insolvent on the dates of alleged

transfers to Elanie UcBamichael MD.

                                    Response to Claims and Causes of Action

          12. Elanie UcBamichael MD denies the allegations of paragraphs 97 through 105 of the

Complaint as they concern Elanie UcBamichael MD, and demands strict proof thereof.




Original Answer of Defendant Elanie UcBamichael MD – Page 3
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 4 of 11




          13. Elanie UcBamichael MD does not have knowledge about and is not able to either

admit or deny the allegations of paragraphs 97 through 105 of the Complaint with respect to

defendants other than Elanie UcBamichael MD.

                               Facts Applicable to All of the Trustee's Theories

          14. Elanie UcBamichael, MD did not receive any payments or transfers from any of the

debtor entities except for NEC Port Arthur Emergency Center, L.P.

          15. NEC Port Arthur Emergency Center, L.P. was non insolvent on the dates of any of

the alleged transfers. NEC Port Arthur Emergency, LP’s Financial Statements prove that NEC

Port Arthur Emergency, LP was solvent through October 31, 2017.

          16. Elanie UcBamichael, MD invested $75,000.00 to purchase a 3% limited partnership

interest in NEC Port Arthur Emergency Center, L.P. The total of all payments received by

Elanie UcBamichael, MD from NEC Port Arthur, LP is less than the amount which Elanie

UcBamichael, MD paid to purchase its limited partnership interest. The amount invested is

value and reasonably equivalent value for the payments received.

          17. NEC Port Arthur Emergency Center, L.P. is a pass through entity for federal income

taxes, and did not pay taxes on its income directly to the United States Treasury. The federal

income tax liability of NEC Port Arthur Emergency Center, L.P. was passed through to the

limited partners in proportion to each partners’ share of ownership of the limited partnership, and

reported on K-1 statements to the individual partners. The money paid by NEC Port Arthur

Emergency Center, L.P. to its limited partners was for the purpose and in amounts to enable each

partner to pay its share of the partnership’s federal income tax liability. The amounts paid to

Elanie UcBamichael, MD were for that purpose, and Elanie UcBamichael, MD paid its share of

the federal income tax liability the partnership to the United States Treasury with Elanie



Original Answer of Defendant Elanie UcBamichael MD – Page 4
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 5 of 11




UcBamichael, MD’s federal income tax returns. Payment by Elanie UcBamichael, MD of its

share of the federal income tax liability of NEC Port Arthur Emergency Center, L.P. is value and

reasonably equivalent value for the amounts received.

          Defenses to the Trustee's Claims for Alleged Receipt of Fraudulent Transfers
                         Under Bankruptcy Code Sections 548 and 550.

          18. Elanie UcBamichael MD did not receive any payments or transfers from any of the

debtor entities except for NEC Port Arthur Emergency Center, L.P.

          19. NEC Port Arthur Emergency Center, L.P. did not make any payments or transfers to

Elanie UcBamichael MD with actual intent to hinder, delay, or defraud any entity to which NEC

Port Arthur Emergency Center, L.P was indebted. Elanie UcBamichael MD is not liable to the

Trustee under 11 U.S.C. Section 548(a)(1)(A).

          20. On the dates of the alleged transfers, and at all relevant times, NEC Port Arthur

Emergency Center, LP was not insolvent, and did not become insolvent as a result of any

payments or transfers to Elanie UcBamichael MD. Elanie UcBamichael MD is not liable to the

Trustee under 11 U.S.C. Section 548(a)(1)(B)(ii).

          21. NEC Port Arthur Emergency Center, LP received reasonably equivalent value in

exchange for any alleged transfer to Elanie UcBamichael MD. Elanie UcBamichael MD

invested $75,000.00 to purchase 3 percent limited partnership interest in NEC Port Arthur

Emergency Center, LP, and the amount invested is greater than the amount of any and all

payments and transfers from NEC Port Arthur Emergency Center, LP to Elanie UcBamichael

MD. In addition, Elanie UcBamichael, MD paid its proportionate share of federal income taxes

based upon income of NEC Port Arthur Emergency Center, L.P. Elanie UcBamichael MD is not

liable to the Trustee under 11 U.S.C. Section 548(a)(1)(B)(i).




Original Answer of Defendant Elanie UcBamichael MD – Page 5
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 6 of 11




          22. Elanie UcBamichael MD gave value to NEC Port Arthur Emergency Center, LP in

good faith and without knowledge that any alleged transfer to Elanie UcBamichael MD was

made by NEC Port Arthur Emergency Center, LP with actual intent to hinder, delay or defraud

any creditor. Elanie UcBamichael MD invested $75,000.00 to purchase a 3 percent limited

partnership interest in NEC Port Arthur Emergency Center, LP, and the amount invested is value

from which NEC Port Arthur Emergency Center, LP benefited, and is more than the amount of

all payments and transfers which Elanie UcBamichael MD received from NEC Port Arthur

Emergency Center, LP. In addition, Elanie UcBamichael, MD paid its proportionate share of

federal income taxes based upon income of NEC Port Arthur Emergency Center, L.P. The

Trustee's claims against Elanie UcBamichael MD are barred by 11 U.S.C. Section 548(c) and

Section 550(b).

          23. The Trustee's claims against Elanie UcBamichael MD under Bankruptcy Code

Sections 548 and 550 are barred by the applicable statutes of limitations. The transfers alleged to

have been made to Elanie UcBamichael MD allegedly took place more than two years before the

date on which the Debtors' petitions were filed, and The Trustee's claims against Elanie

UcBamichael MD under Sections 548 and 550 of the Bankruptcy Code are barred by the two

year statute of limitations of 11 U.S.C. 548(a)(1).

          Defenses to the Trustee's Claims for Alleged Receipt of Fraudulent Transfers
                   Under Texas Business and Commerce Code Section 24.006

          24. Elanie UcBamichael MD did not receive any payments or transfers from any of the

debtor entities except for NEC Port Arthur Emergency Center, L.P.

          25. Elanie UcBamichael MD did not receive any payments or transfers from NEC Port

Arthur Emergency Center, L.P which were made with actual intent to hinder, delay or defraud its

creditors. There are no "Badges of Fraud" as set out in Tex. Bus. & Comm. Code Section


Original Answer of Defendant Elanie UcBamichael MD – Page 6
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 7 of 11




24.005(b). No Badges of Fraud are alleged in the Complaint. Elanie UcBamichael MD is not

liable to the Trustee under Tex. Bus. & Comm. Code § 24.005.

          26. On the dates of the alleged transfers, and at all relevant times, NEC Port Arthur

Emergency Center, LP was not insolvent, and did not become insolvent as a result of any

payments or transfers to Elanie UcBamichael MD. Elanie UcBamichael MD is not liable to the

Trustee under Tex. Bus. & Comm. Code § 24.006(a).

          27. Elanie UcBamichael MD gave reasonably equivalent value for any transfers from

the Debtors. Elanie UcBamichael MD invested $75,000.00 to purchase a 3 percent limited

partnership interest NEC Port Arthur Emergency Center LP. Elanie UcBamichael MD's this

capital contribution is “value” as defined in Tex. Bus. Comm. Code § 24.004(a) and is

"reasonably equivalent value" as defined in Tex. Bus. Comm. Code § 24.004(d). Elanie

UcBamichael MD invested $75,000 to purchase its limited partner interest in NEC Port Arthur

Emergency Center LP in good faith, and any transfers made by NEC Port Arthur Emergency

Center LP to Elanie UcBamichael MD were in good faith for value, from which NEC Port

Arthur Emergency Center, LP benefited, and is more than the amount of all payments and

transfers which Elanie UcBamichael MD received from NEC Port Arthur Emergency Center,

LP. In addition, Elanie UcBamichael, MD paid its proportionate share of federal income taxes

based upon income of NEC Port Arthur Emergency Center, L.P. Elanie UcBamichael MD is not

liable to the Trustee under Tex. Bus.& Comm. Code § 24.009(a).

          28. The Trustee's claims against Elanie UcBamichael MD under Tex. Bus & Comm.

Code § 24.006(b) are barred by the statute of limitations. For transfers to an insider which are

sought to be avoided under § 24.006 (b), the statute of limitations is one year after the transfer is

made. Elanie UcBamichael MD did not receive any payments or transfers from NEC Port


Original Answer of Defendant Elanie UcBamichael MD – Page 7
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 8 of 11




Arthur Emergency Center LP, or any other debtor entity, within one year before the date of the

Debtors’ petitions and none are alleged to have been made in the Trustee’s Complaint.

                                                   COUNTER CLAIM

          29. The Trustee’s claims against Elanie UcBamichael MD are without merit. Elanie

UcBamichael MD is entitled to recover its reasonable attorney’s fees for defending this

Complaint from the Trustee of the Unsecured Creditor Trust of Neighbors Legacy Holdings, Inc.

and its Debtor Affiliates, pursuant to Tex. Bus. & Comm. Code § 24.013. A reasonable

attorney’s fee for Elanie UcBamichael MD for the services of its attorneys is the sum of at least

$30,000.

                                                          PRAYER

          Wherefore, premises considered, Elanie UcBamichael MD prays that the Trustee take

nothing from Elanie UcBamichael MD, and that Elanie UcBamichael MD recover its costs and

reasonable attorney’s fees from the Plaintiff, the Trustee of the Unsecured Creditor Trust of

Neighbors Legacy Holdings, Inc. and its Debtor Affiliates, and for such and further relief to

which Elanie UcBamichael MD may show herself to be justly entitled.

                                                              Respectfully submitted,

                                                              ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                                              By:
                                                              John Mayer
                                                              Texas Bar Number 13274500
                                                              Southern District Number 502092
                                                              7700 San Felipe, Suite 550
                                                              Houston, Texas 77063
                                                              Phone 713-626-1200
                                                              Email jmayer@rossbanks.com
                                                              Attorney for Defendant
                                                              Elanie UcBamichael MD




Original Answer of Defendant Elanie UcBamichael MD – Page 8
          Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 9 of 11




                                           CERTIFICATE OF SERVICE

        I certify that true copies of this answer were served upon the Trustee by email to the
Trustee’s attorney of record Clifford Walston of the law firm of Walston Bowlin, LLP, to email
address cliff@walstonbowlin.com, and on all persons who have entered an appearance in this
case electronically by means of the Court’s CM/ECF System contemporaneously with filing.

       I certify that true copies of this motion and proposed order were served upon the Trustee,
the Trustee’s attorney, and all of the Defendants by mailing same, properly addressed and
postage prepaid, to the persons and parties whose names are set forth in the attached Mailing list.

          This service was completed on June 30, 2020.

                                                              .
                                                                  John Mayer




Original Answer of Defendant Elanie UcBamichael MD – Page 9
         Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 10 of 11




                                              MAILING LIST
Mark Shapiro, Trustee                   Towards Infinity LLC                  James Locke, MD
of the Unsecured Creditor Trust         c/o Registered Agent Radheshyam       2457 Baycrest Dr.
3500 Maple Avenue, Suite 420            Miryala                               Houston, Texas 77058
Dallas, TX 75219                        3017 S. Island Dr.
                                        Seabrook, Texas 77586                 Megadodo LLC
Michael D. Warner                                                             c/o Registered Agent Jason Gukhool
Cole Scholtz P.C.                       AB Physician Services LLC             4141 Lovers Lane
301 Commerce Street, Suite 1700         c/o Registered Agent Antonio Bueso    Dickinson, Texas 77539
Fort Worth, TX 76102                    750 Marlin Dr.
                                        Abilene, Texas 79602                  Dien Bui MD
Thomas Vo, aka Tom Vo                                                         2466 Beacon Circle
4531 Oleander St.                       Ahmed F. Shaikh                       League City, TX 77573
Bellaire, Texas 77401                   2905 Amherst St.
                                        ouston, Texas 77005                   Catniaj PLLC
ER Physicians Associates, PLLC                                                c/o Registered Agent Nia Johnson
c/o Registered Agent Shannon Orsak      Roy Marrero                           4438 South MacGregor Way
16062 Southwest Freeway #2              3709 Gertin Street                    Houston, Texas 77021
Sugar Land, Texas 77479                 Houston, Texas 77004
                                                                              Nia Johnson
Pranav Shukla                           Spring Pasadena Investments, LLC      4438 South MacGregor Way
1206 Doughty Place                      c/o Registered Agent Long Le          Houston, Texas 77021
Sugar Land, Texas 77479                 3411 Summer Bay Dr.
                                        Sugar Land, Texas 77478               Obidike R. Akahara MD PA
Neighbors of the Permian Basin, LLC                                           c/o 7638 Westmoreland Dr.
c/o Registered Agent Vik Wall           William Appiah                        Sugar Land, TX 77479
18 Sapphire St.                         1906 Mystic Arbor Lane
Odessa, Texas 79762                     Houston, Texas 77077                  Wisestaff, LLC
                                                                              c/o Registered Agent Incorp Services,
Abarado & Do Family, LP                 Applied Enhancements, PLLC            Inc.
c/o Registered Agent California Rough   c/o Registered Agent Manohar M.       815 Brazos, Suite 500
Do                                      Alloju                                Austin, Texas 78701
7606 Hampden Court                      14340 Torrey Chase Blvd., Suite 110
Sugar Land, Texas 77479                 Houston, Texas 77014                  Teamus Investments, LTD
                                                                              c/o Registered Agent Steven Downie
Emtex Investments, LLC                  Fillory Holdings, LLC                 705 Randolph Circle
c/o Registered Agent Judy Thomas        c/o Registered Agent Lance Hill       Beaumont, Texas 77706
3001 Murworth Dr., Unit 1602            1013 Greenwood Lane
Houston, Texas 77025                    Lewisville, Texas 75067               Hazel Cebrun
                                                                              2907 Chartres Street
Kenneth Direkly                         Defendant Thanh Cheng                 Houston, Texas 77004
1141 Rymers Switch Lane                 4219 Killian Court
Friendswood, Texas 77546                Missouri City, Texas 77459            LBN Medical Care, PLLC
                                                                              c/o Registered Agent Lieu B Ngo
Emergence Holdings LLC                  Andrew O. Okafor, M.D. P.A.           12803 Brook Arbor Court
c/o Registered Agent Richard Joe        12210 Ashley Circle Dr., West         Pearland, Texas 77584
Ybarra                                  Houston, Texas 77071
1902 Pease St., Suite A                                                       Darul Sehat, PA
Harlingen, TX 78550.                    Roger Starner Jones, Jr.              1914 West Gray Street, Unit 105
                                        2405 Barton Shore Dr.                 Houston, Texas 77019
EDR Investments LLC                     Pearland, Texas 77584
c/o Registered Agent Eric Roberson                                            Defendant Bankymed Emergency
315 Hughes Rd.                          Manuel Acosta, PLLC                   Management, LLC
Dickinson, Texas 77539                  c/o Registered Agent Manuel E.        c/o Registered Agent Olushola Bankole
                                        Rodriguez Acosta                      14815 Lisa Lane
Atiba Bell Medical Associated, PLLC     3131 Memorial Court, #8104            Beaumont, Texas 77713
c/o Registered Agent Atiba Bell         Houston, Texas 77007
22206 Mission Hills Lane                                                      Upclick Ventures, LLC
Katy, Texas 77450                       Isaac Freeborn                        1119 Woodbank Dr.
lberto A. Gonzalez, MD                  6703 Winston St.                      Seabrook, Texas 77486
207 S. Bauer Point Circle               Houston, Texas 77021
Spring, Texas 77389                                                           David C. Herrera, MD
                                        Addison HN Vo Investments LLC         4624 Pin Oak Lane
Ekta Popat                              c/o Registered Agent Phuc Hong Vo     Bellaire, TX 77401
1010 Reinhart Ave.                      3537 High Vista Dr.
Sugar Land, TX 77479                    Carrollton, Texas 75007               Ali Osman
                                                                              3390 Heights Avenue
                                                                              Beaumont, Texas 77706
         Case 20-03016 Document 19 Filed in TXSB on 06/30/20 Page 11 of 11




                                               MAILING LIST
Ivan Melendez                            Jorge Barajas, MD PA
3304 N. Bryan Road                       3005 Laurie Ln.                         Clint Carter, MD PA
Mission, Texas 78573                     Edinburg, Texas 78539                   4048 Charleston Park
                                                                                 Tyler, Texas 75701
Baqir Holdings, PLLC                     Aiman A. Shokr, MD
c/o Registered Agent Ahmed F. Shaikh     109 Banks Drive                         Don Harper
2905 Amherst Street                      Amarillo, Texas 79124                   810 N. Louise St.,
Houston, Texas 77005                                                             Atlanta, Texas 75551
                                         Michael Mohun
Robert Wright, DO                        1000 North 8th Street                   SDR Healthcare Inc
3544 Kanati Cove                         McAllen, Texas 78501                    c/o Registered Agent Dr. Jason
Collage Station, Texas 77845                                                     Seungdamrong
                                         Peter Shelby Evans, MD                  3000 Blackburn St., Apt 2311
Jeffery P. Reboul, DO                    11431 Lakeside Place Dr.                Dallas, Texas 75204
6550 Truxton Ln.                         Houston, Texas 77077
Beaumont, Texas 77706                                                            Ucbamichael Holdings LTD
                                         David Haacke                            c/o Registered Agent Elaine
James M. Piccione, MD, PLLC              2001 Bob Whie Trail                     Ucbamichael
c/o Registered Agent James M. Piccione   Amarillo, Texas 79124                   2500 N. Houston St., Apt 2712
5930 Juniper Bluff Court                                                         Dallas, Texas 75219
Kingwood, Texas 77345                    Isabel Reyna MD
                                         2210 Northgate Drive                    Ucbamichael Holdings Management,
KA Hott PLLC                             Weslaco, Texas 78599                    LLC
c/o Registered Agent Kim Hott                                                    c/o Registered Agent Elaine
4400 College Park Dr., Suite 1011        Jason Yost                              Ucbamichael
The Woodlands, Texas 77384               5407 Rolling Hills                      2500 N. Houston St., Apt 2712
                                         Texarkana, Texas 75503                  Dallas, Texas 75219
Stuart R. Quartermont, MD
4801 Appel Valley Ct.                    Haynes Emergency Medicine, PA           Salvador Elizarraraz, Jr., MD PA
College Station, Texas 77845             c/o Registered Agent Philip A. Haynes   2001 Fullerton Ave.
                                         604 Hidden Pine Lane                    McAllen, Texas 78504
C. Guadarrama PLLC                       Friendswood, Texas 77546
c/o Registered Agent Christopher
Guadarrama                               Maria Aguinaga, MD PA
1255 Carrizo Lane                        701 Jay Ave.
Brownsville, Texas 78520                 McAllen, Texas 78504

Omotola O. Jaiyebo                       Darin Ashbrooks
3726 Treasure Island Dr.                 100 Oak Meadow Ln.
Montgomery, Texas 77356                  Texarkana, Texas 75503

Elanie Ucbamichael, MD                   Shawna Labert Pitt
3195 Dowlen Rd., Suite 101               1256 Moore Road
Beaumont, Texas 77706                    Beaumont, Texas 77713

Edgar Hernandez, MD                      Defendant Candanosa MD PA
2601 Santa Monica                        2307 Victoria Ave.
Mission, Texas 78572                     Edinburg, TX 78539

Haywood Hall                             JMZ PLLC
220 n. Zapata Hwy, #228A                 c/o Registered Agent United States
Laredo, Texas 78043                      Corporation Agents, Inc.
                                         9900 Spectrum Drive
Jorge Javier Escobar Jr., MD PA          Austin, Texas 78717
204 Rancho Del Rey
Mission, Texas 78572                     Haman Healthcare Group, LLP
                                         1474 W. Price Rd., Suite 7
Donald Hubbard, MD PA                    Brownsville, Texas 78520
1710 S. Polk St.
Amarillo, Texas 79102                    Shannon Spigener PLLC
                                         c/o Registered Agent Michelle Tribble
Thomas M. Mercado, MD PLLC               1801 E. 51st St., Building H
c/o Registered Agent Rebel Inez          Austin, Texas 78723
Mercado
3502 Kensington Pl.                      Olga Langly
Amarillo, Texas 79121                    3205 South 6th Lane
                                         McAllen, Texas 78503
